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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

                                         )
 IN RE                                   )
                                         )
 DMCA § 512(h) Subpoena to               )   Case No. 18-cv-6069
 GoDaddy.com LLC                         )
                                         )
                                         )

                    REQUEST FOR ISSUANCE OF SUBPOENA
                          UNDER 17 U.S.C. §512(H)

ManpowerGroup Inc. (“ManpowerGroup”), by and through counsel, respectfully requests

that the Clerk of this Court issue a subpoena to GoDaddy.com LLC (“GoDaddy”) to identify

an alleged infringer pursuant to the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C.

§ 512(h) (the “DMCA Subpoena”). ManpowerGroup respectfully presents the following

required documentation and states as follows:

1. The DMCA Subpoena is directed to GoDaddy, which is the online service provider for

the domain: manpowergroup.today.

2. Under Section 512(h)(2) of the DMCA, ManpowerGroup is required to provide 1) a copy

of the “take down” notification described in Section 512(c)(3)(a) of the DMCA, 2) a

proposed subpoena; and 3) “a sworn declaration to the effect that the purpose for which the

subpoena is sought is to obtain the identity of an alleged infringer and that such information

will only be used for the purpose of protecting rights under this title”. DMCA.17 U.S.C.

512(h)(2)(A)-(C).
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3. Once these documents are provided, the Clerk of the Court “…shall expeditiously issue

and sign the proposed subpoena and return it to the requester for delivery to the service

provider.” 17 U.S.C. 512(h)(4).

4. In compliance with this statutory provision, ManpowerGroup provides the following:

   a. A copy of the notification provided to GoDaddy, which complies with Section
      512(c)(3)(a) of the DMCA. See Exh. A;

   b. A proposed subpoena to GoDaddy. See Exh. B;

   c. A Declaration from ManpowerGroup’s counsel. See Exh. C.

ManpowerGroup therefore respectfully requests that the Clerk of this Court expeditiously

issue and sign the proposed subpoena, which is attached as Exhbit B. ManpowerGroup

further requests that the Clerk return the subpoena to ManpowerGroup’s counsel for service

to GoDaddy.




 Dated: September 5, 2018                         Respectfully submitted,
                                                  ManpowerGroup Inc., by:

                                                  /Christopher B. Lay/
                                                  ___________________________
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